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Attorney for Defendant,
EDWARD BADALIAN

                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

            Plaintiff
                                                Case Number: 21-cr-246
DANIEL JOSEPH “DJ” RODRIGUEZ,                   [Oral Argument Requested]
(Counts 1, 2, 3, 4, 6, 7, 8, 10)

EDWARD BADALIAN
(Counts 1, 2, 3, 10)

         Defendants.
____________________________________/

            MOTION TO BE WITHDRAWN AS COUNSEL OF RECORD FOR THE

                           DEFENDANT EDWARD BADALIAN

       Come now Attorneys Tigran Martinian and Anush Melkonyan, who are presently counsel

of record for the Defendant, EDWARD BADALIAN, and hereby move this Court to be withdrawn

as counsel of record for Defendant EDWARD BADALIAN on the grounds that Defendant

EDWARD BADALIAN has retained a new attorney who has appeared on his behalf through pro

hac vice application.




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       I HEREBY CERTIFY that on the 7th day of October, 2022, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following: Kimberly Paschall, Assistant U.S. Attorney.



                                                     Respectfully submitted,

                                                     s/ Tigran Martinian
                                                      ______________________________
                                                     TIGRAN MARTINIAN, ESQ.
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                                                     Attorney for Defendant Badalian
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